Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 1 of 29




                                                                        MP

                                                               Aug 13, 2024

                                                                          Miami
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 2 of 29




                                    GENERAL ALLEGATIONS

         At all times relevant to this Indictment:

          1.      The Florida State Lion Tribe of the Almighty Latin Kings & Queens Nation

  (hereinafter "the Latin Kings"), was an organized criminal group that operated in the Southern

  District of Florida.

          2.      The Latin Kings was one of the largest and most well-organized gangs operating in

  the United States. The gang's primary source of income was generated through offenses related

  to the distribution of narcotics, robbery, burglary, fraud, identity theft, money laundering and other

  illicit schemes. Members of the Latin Kings committed these criminal acts with the intent to

  benefit, promote and further the interests of their organization and to increase their own standing

  or position within the larger network of Latin King gangs.

          3.      The Latin Kings operated certain criminal schemes from a house located in Miami

  Gardens, Florida (the "Residence").

         4.       Defendant ANGEL JOE GONZALEZ, Jr. a/k/a "King Juug," a/k/a

  "@DaMai1Man5," a/k/a "juughard2kill," a/k/a "chicostyle97@icloud.com," was a Latin King who

  resided at the Residence.

         5.       Defendant EVENS NECLER MONESTIME, a/k/a "Only talk to me Bout

  money," a/k/a "Bandaman Dexta," resided at the Residence.

         6.       Defendant CRISTINA AZAHARES, a/k/a "The Mail Lady," was the girlfriend of

  ANGEL JOE GONZALES, Jr., and resided at the Residence.

         7.      Defendant DAVID GONZALEZ, a/k/a "gwuap," a/k/a "gwuapdawiz," a/k/a

  "davidg10085@icloud.com," a/k/a "vascvv@iclould.com," was a resident of Broward County,

  Florida and the cousin of ANGEL JOE GONZALEZ, Jr.

                                                     2
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 3 of 29




         8.      Defendant ADRIANA GINEL was a resident of Miami-Dade County, Florida.

         9.      Bank 1 was a financial institution with branch locations in the Southern District of

  Florida whose accounts were insured by the Federal Deposit Insurance Corporation ("FDIC").

         10.     Bank 2 was a financial institution with branch locations in the Southern District of

  Florida whose accounts were insured by the FDIC.

         11.     Bank 3 was a financial institution with branch locations in the Southern District of

  Florida whose accounts were insured by the FDIC.

                                            COUNT!
                                Conspiracy to Commit Bank Fraud
                                        18 u.s.c. § 1349

         1.      The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as though fully set forth herein.

         2.      From in or around September 2021, and continuing through in or around February

  2024, in Miami-Dade, Broward and Palm Beach Counties, in the Southern District of Florida, and

  elsewhere, the defendants,

                                  ANGEL JOE GONZALEZ, JR.,
                                          a/k/a "King Juug,"
                                       a/k/a "@DaMailMan5,"
                                        a/k/a "juughard2kill,"
                                 a/k/a "chicostyle97@icloud.com,"
                                       EVENS MONESTIME,
                                a/k/a "Only talk to me Bout money,"
                                      a/k/a "Bandaman Dexta,"
                                      CRISTINA AZAHARES,
                                       a/k/a "The Mail Lady,"
                                        DAVID GONZALEZ,
                                            a/k/a "gwuap,"
                                         a/k/a "gwuapdawiz,"
                                 a/k/a "davidgl 0085@icloud.com,"
                                  a/k/a "vascvv@iclould.com," and
                                         ADRIANA GINEL,




                                                   3
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 4 of 29




  did willfully, that is, with intent to further the object of the conspiracy, and knowingly combine,

  conspire, confederate, and agree with each other, and with others known and unknown to the Grand

  Jury, to knowingly, and with intent to defraud, execute, attempt to execute, and cause the execution

  of, a scheme and artifice to obtain moneys and funds owned by, and under the custody and control

  of, a financial institution, that is, Bank 1, Bank 2, and Bank 3 by means of false and fraudulent

  pretenses, representations, and promises relating to a material fact, in violation of Title 18, United

  States Code, Section 1344(2) and 2.

                                PURPOSE OF THE CONSPIRACY
         3.      It was the purpose of the conspiracy for the defendants and their co-conspirators to

  unlawfully enrich themselves by, among other things: (1) obtaining and causing others to obtain

  stolen checks and personal identification information ("PII"), including but not limited to, debit

  card, credit card, and bank account numbers, from the U.S. mail, and elsewhere; (2) fraudulently

  altering, and causing others to alter the stolen checks; (3) depositing the false and fraudulently

  altered checks into bank accounts controlled by the defendants and their co-conspirators; ( 4)

  selling the false and fraudulently altered checks; and, (5) using the illicit proceeds from the deposit

  and sale of the fraudulently altered checks for their own personal gain and to advance the

  conspiracy.

                        MANNER AND MEANS OF THE CONSPIRACY

         The manner and means by which the defendants and their co-conspirators sought to

  accomplish the purpose and object of this conspiracy included, among other things, the following:

         4.      ANGEL JOE GONZALEZ, JR., EVENS MONESTIME, CRISTINA

  AZAHARES, DAVID GONZALEZ, and their co-conspirators stole and illicitly obtained keys

  suited to locks adopted by the United States Postal Service ("mail keys") in order to steal U.S. mail



                                                    4
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 5 of 29




  from lock boxes, lock drawers, and other authorized receptacles for the deposit and delivery of

  mail matter, located throughout the Southern District of Florida, and elsewhere.

         5.        ANGEL JOE GONZALEZ, JR., EVENS MONESTIME, CRISTINA

  AZAHARES, DAVID GONZALEZ, and their co-conspirators maintained the following stolen

  mail keys, among others, at the Residence, in their automobiles, and elsewhere, in order to advance

  their bank fraud scheme: mail keys assigned to serial numbers: 99-33027; 99-25099; 92-52740;

  92-44706; 92-52731; andA401-20011.

         6.        ANGEL JOE GONZALEZ, JR., EVENS MONESTIME, CRISTINA

  AZAHARES, DAVID GONZALEZ, and their co-conspirators removed from the stolen mail,

  among other things, checks and documents containing PII belonging to victims throughout the

  United States.

         7.        ANGEL JOE GONZALEZ, JR., EVENS MONESTIME, CRISTINA

  AZAHARES, DAVID GONZALEZ, ADRIANA GINEL and their co-conspirators maintained

  hundreds of pieces of stolen mail, including but not limited to, stolen mail containing checks and

  PII belonging to victims at the Residence, in their automobiles and elsewhere, in order to advance

  their bank fraud scheme.

         8.        Co-conspirators altered the checks stolen from the U.S. mail by removing the true

  payees from the checks and falsely and fraudulently listing ANGEL JOE GONZALEZ, JR.,

  EVENS MONESTIME, CRISTINA AZAHARES, ADRIANA GINEL, and their co­

  conspirators as payees of the checks.

         9.        Additionally, co-conspirators used the stolen checks as templates to make

  additional false and fraudulent counterfeit checks that listed ANGEL JOE GONZALEZ, JR.,




                                                   5
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 6 of 29




  EVENS MONESTIME, CRISTINA AZAHARES, ADRIANA GINEL, and their co­

  conspirators as payees.

         10.     ANGEL JOE GONZALEZ, JR., EVENS MONESTIME, CRISTINA

  AZAHARES, DAVID GONZALEZ, ADRIANA GINEL, and other co-conspirators opened

  bank accounts at Bank 1, Bank 2, and Bank 3, among other banks, in the Southern District of

  Florida, and elsewhere.

         11.     ANGEL JOE GONZALEZ, JR., EVENS MONESTIME, CRISTINA

  AZAHARES, DAVID GONZALEZ, ADRIANA GINEL, and other co-conspirators deposited

  the false and fraudulently altered checks into bank accounts including bank accounts at Bank 1,

  Bank 2, and Bank 3 controlled by the defendants and their co-conspirators.

         12.     In order to advance their scheme, ANGEL JOE GONZALEZ, JR., EVENS

  MONESTIME, DAVID GONZALEZ, and their co-conspirators "spoofed," banks, like Bank 2,

  by calling victims and pretending to be representatives from the fraud department of that bank, in

  order to gain access to victims' bank accounts.

         13.     Once ANGEL JOE GONZALEZ, JR., CRISTINA AZAHARES, DAVID

  GONZALEZ, ADRIANA GINEL, and their co-conspirators gained access to victims' bank

  accounts, they used the accounts to electronically transfer funds from victim bank accounts to bank

  accounts controlled by members of the conspiracy.

         14.     ANGEL JOE GONZALEZ, JR., EVENS MONESTIME, CRISTINA

  AZAHARES, DAVID GONZALEZ, and their co-conspirators sold and delivered stolen checks

  to customers engaged in similar fraud schemes, and used the proceeds from the sale of the false

  and fraudulent checks, for their own personal benefit and gain.




                                                    6
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 7 of 29




          15.    ANGEL JOE GONZALEZ, JR., EVENS MONESTIME, and their co-

  conspirators used and maintained firearms and body armor at the Residence, in their vehicles, and

  elsewhere, to protect the stolen mail, PII, and proceeds of their fraud operation.

         All in violation of Title 18, United States Code, Section 1349.

                                            COUNTS 2-6
                                             Bank Fraud
                                           18 u.s.c. § 1344
          1.     The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as though fully set forth herein.

         2.      On or about the dates and for the defendants specified below, in Miami-Dade,

  Broward and Palm Beach Counties, in the Southern District of Florida, and elsewhere, the

  defendants,

                                  ANGEL JOE GONZALEZ, JR.,
                                          a/k/a "King Juug,"
                                       a/k/a "@DaMailManS,"
                                        a/k/a "juughard2kill,"
                                 a/k/a "chicostyle97@icloud.com,"
                                       EVENS MONESTIME,
                                a/k/a "Only talk to me Bout money,"
                                      a/k/a "Bandaman Dexta,"
                                      CRISTINA AZAHARES,
                                       a/k/a "The Mail Lady,"
                                        DAVID GONZALEZ,
                                            a/k/a "gwuap,"
                                         a/k/a "gwuapdawiz,"
                                 a/k/a "davidgl0085@icloud.com,"
                                  a/k/a "vascvv@iclould.com," and
                                         ADRIANA GINEL,

  did knowingly, and with intent to defraud, execute, and attempt to execute, and cause the execution

  of, a scheme and artifice to obtain moneys and funds owned by, and under the custody and control

  of, one or more financial institutions, by means of materially false and fraudulent pretenses,




                                                   7
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 8 of 29




  representations, and promises relating to a material fact, in violation of Title 18, United States

  Code, Sections 1344(2) and 2.

                          PURPOSE OF THE SCHEME AND ARTIFICE

           3.      It was the purpose of the scheme and artifice for the defendants and their

  accomplices to unlawfully enrich themselves by depositing false and fraudulent checks, and

  fraudulently altered checks stolen from the U.S. mail into bank accounts that the defendants and

  their accomplices controlled and using the illicit proceeds for their personal benefit and gain.

                                     SCHEME AND ARTIFICE

           4.      The Manner and Means section from Count 1 of this Indictment is re-alleged and

  incorporated by reference as though fully set forth herein as the description of the scheme and

  artifice.

                        EXECUTION OF THE SCHEME AND ARTIFICE

           5.      On or about the dates specified below, the defendants did execute, and cause the

  execution of, the above-described scheme and artifice to defraud, as more particularly described

  below:

   Count           Defendant          Approximate                         Execution
                                          Date
                CRISTINA            September 2, 2022     Caused a counterfeit check no. 6245 in
                AZAHARES                                  the approximate amount of $3,898.00 to
                                                          be deposited into a Bank 2 account
                                                          ending 5438.
                EVENS               February 13, 2023     Caused a counterfeit check no. 61244 in
                M ONESTIME                                the approximate amount of $56,484.54
                                                          to be deposited into a Bank 1 account
                                                          ending 6737.
                ANGELJOE            March 8, 2023         Caused a counterfeit check no. 6198 in
                GONZALEZ,JR.,                             the approximate amount of $74,392.61
                                                          to be deposited into his Bank 3 account
                                                          ending 9979.




                                                    8
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 9 of 29




            ADRIANA GINEL          May 31, 2023           Caused a counterfeit check no. 2039427
     5                                                    in the approximate amount of
                                                          $142,350.00 to be deposited into a Bank
                                                          3 account ending 3926.
            DAVID                   June 6, 2023          Caused a counterfeit check no. 074939
     6      GONZALEZ                                      in the approximate amount of
                                                          $41,114.80 to be deposited into a Bank 3
                                                          account ending in 9672.

         In violation of Title 18, United States Code, Sections 1344(2) and 2.

                                          COUNTS7�10
                                     Aggravated Identity Theft
                                        18 U.S.C. § 1028A

          On or about the dates specified as to each count below, in Miami Dade and Broward

  Counties, in the Southern District of Florida, and elsewhere, the defendants as set forth below,

  during and in relation to a felony violation of Title 18, United States Code, Section 1344(2), that

  is, Bank Fraud, as charged in Counts 2-6 of this Indictment, did knowingly transfer, possess, and

  use, without lawful authority, the means of identification of another person, as set forth in each

  count below:

         Count     Defendant              Approximate Date        Means of Identification
            7      CHRISTINA              September 2, 2022      Name and Signature of S.J.
                   AZAHARES
            8      ANGEL JOE              March 8, 2023          Name and signature of S.J.J.
                   GONZALEZ, JR.,
            9      ADRIANA                May 31, 2023           Name and signature ofH.A.
                   GINEL
           10      DAVID                  June 6, 2023           Name and signature of A.D.
                   GONZALEZ

  In violation of Title 18, United States Code, Sections 1028A(a)( l) and 2.




                                                   9
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 10 of 29




                                          COUNTS 11-16
                                   Possession of Stolen Mail Keys
                                          18 u.s.c. § 1704

          On or about the dates specified as to each count below, in Miami-Dade and Broward

  Counties, in the Southern District of Florida, and elsewhere, the defendants, as set forth below, did

  knowingly and unlawfully possess any key suited to any lock adopted by the Postal Service and in

  use on any lock box, lock drawer, and other authorized receptacle for the deposit and delivery of

  mail matter, with the intent to unlawfully and improperly use and sell such key and to cause such

  key to be unlawfully and improperly used and sold:

    Count        Date.                  Defendant(s)                           Serial Number
     11        May 3, 2023       ANGEL JOE GONZALEZ, JR.,                        99-33027
                                    EVENS MONESTIME,
                                   CRISTINA AZAHARES,
                                            and
                                     DAVID GONZALEZ
     12        May 3, 2023       ANGEL JOE GONZALEZ, JR.,                         99-25099
                                    EVENS MONESTIME,
                                   CRISTINA AZAHARES,
                                            and
                                     DAVID GONZALEZ
     13        May 3, 2023       ANGEL JOE GONZALEZ, JR.,                         92-52740
                                    EVENS MONESTIME,
                                   CRISTINA AZAHARES,
                                            and
                                     DAVID GONZALEZ
     14        May 3, 2023       ANGEL JOE GONZALEZ, JR.,                         92-44706
                                    EVENS MONESTIME,
                                   CRISTINA AZAHARES,
                                            and
                                     DAVID GONZALEZ
     15        May 3, 2023       ANGEL JOE GONZALEZ, JR.,                         92-52731
                                    EVENS MONESTIME,
                                   CRISTINA AZAHARES,
                                            and
                                     DAVID GONZALEZ
     16        May 3, 2023       ANGEL JOE GONZALEZ, JR.,                       A401-20011
                                    EVENS MONESTIME,
                                   CRISTINA AZAHARES,
                                            and
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 11 of 29




    Count         Date                   Defendants                        Serial Number
                                      DAVID GONZALEZ

                                            COUNT 17
                   Possession of Fifteen or More Unauthorized Access Devices
                                      18 U.S.C. § 1029(a)(3)

         On or about May 3, 2023, in Miami-Dade County, in the Southern District of Florida, the

  defendants,

                                 ANGEL JOE GONZALEZ, JR.,
                                         a/k/a "King Jung,"
                                      a/k/a "@DaMailMan5,"
                                       a/k/a "juughard2kill,"
                                 a/k/a "chicostyle97@icloud.com,"
                                      EVENS MONESTIME,
                               a/k/a "Only talk to me Bout money,"
                                  a/k/a "Bandaman Dexta," and,
                                     CRISTINA AZAHARES,
                                      a/k/a "The Mail Lady,"

  did knowingly, and with intent to defraud, possess fifteen (15) or more unauthorized access

  devices, that is, names, dates of birth, social security numbers and financial account numbers

  issued to other persons, said conduct affecting interstate and foreign commerce, in violation of

  Title 18, United States Code, Sections 1029(a)(3) and 2.

                                         COUNTS 18-19
                                    Aggravated Identity Theft
                                     18 U.S.C. § 1028A(a)(l)

         On or about May 3, 2023, in Miami-Dade County, in the Southern District of Florida, the

  defendants,

                                 ANGEL JOE GONZALEZ, JR.,
                                         a/k/a "King Juug,"
                                      a/k/a "@DaMailMan5,"
                                       a/k/a "juughard2kill,"
                                 a/k/a "chicostyle97@icloud.com,"
                                      EVENS MONESTIME,
                               a/k/a "Only talk to me Bout money,"
                                  a/k/a "Bandaman Dexta," and,

                                                 11
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 12 of 29




                                       CRISTINA AZAHARES,
                                        a/k/a "The Mail Lady,"

  during and in relation to a felony violation of Title 18, United States Code, Section 1029(a)(3),

  that is, knowingly, and with intent to defraud, possessing fifteen (15) or more unauthorized access

  devices as charged in Count 17, did knowingly possess without lawful authority, the means of

  identification of another person, that is the name, date of birth, and social security number issued

  to the victim as set forth in each count below:

                               Count            Means of Identification
                                18              The name and passport number
                                                assigned to F.N.
                                  19            The name and Florida license
                                                number assigned to S.S.

  In violation of Title 18, United States Code, Sections 1028A(a)(l ) and 2.

                                           COUNT 20
                                   Money Laundering Conspiracy
                                       18 u.s.c. § 1956(h)

         1.      The General Allegations section of this Indictment is re-alleged and incorporated

   by reference as though fully set forth herein.

         2.      From in or around September 2021, and continuing through in or around February

  2024, in Miami-Dade, Broward, and Palm Beach Counties, in the Southern District of Florida, and

  elsewhere, the defendants,

                                  ANGEL JOE GONZALEZ, JR.,
                                         a/k/a "King Jung,"
                                       a/k/a "@DaMailMan5,"
                                        a/k/a "juughard2kill,"
                                 a/k/a "chicostyle97@icloud.com,"
                                       EVENS MONESTIME,
                                a/k/a "Only talk to me Bout money,"
                                      a/k/a "Bandaman Dexta,"
                                      CRISTINA AZAHARES,
                                       a/k/a "The Mail Lady,"
                                        DAVID GONZALEZ,

                                                    12
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 13 of 29




                                           alk/a "gwuap,"
                                        alk/a "gwuapdawiz,"
                                 alk/a "davidgl 0085@icloud.com,"
                                   alk/a vascvv@iclould.com, and
                                         ADRIANA GINEL,

  did knowingly and willfully combine, conspire, confederate, and agree with other persons known

  and unknown to the Grand Jury, to commit offenses under Title 18, United States Code, Sections

  1956 and 1957, that is:

         a) to knowingly conduct a financial transaction affecting interstate and foreign commerce,

             which financial transaction involved the proceeds of specified unlawful activity,

             knowing that the property involved in the financial transaction represented the proceeds

             of some form of unlawful activity, with the intent to promote the carrying on of such

             specified unlawful activity, in violation of Title 18, United States Code, Section

             1956(a)(l)(A)(i); and,

         b) to knowing engage in a monetary transaction by, through, and to a fmancial institution

             affecting, interstate commerce, in criminally derived property of a value greater than

             $10,000, that is derived from specified unlawful activity in violation of Title 18, United

             States Code, Section 1957.

         It is further alleged that the specified unlawful activity is conspiracy to commit bank fraud,

  in violation of Title 18, United States Code, Section 1349, bank fraud, in violation of Title 18,

  United States Code, Section 1344, theft of mail, in violation of Title 18, United States Code,

  Section 1708, and possession with intent to distribute a controlled substance, in violation of Title

  21, United States Code, Sections 841 and 846.

         All in violation of Title 18, United States Code, Section 1956(h).




                                                  13
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 14 of 29




                                           COUNT21
                   Possession with Intent to Distribute a Controlled Substance
                                        21 u.s.c. § 841

         On or about May 3, 2023, in Miami-Dade County, in the Southern District of Florida, and

  elsewhere, the defendants,

                                  ANGEL JOE GONZALEZ, JR.,
                                          a/k/a "King Juug,"
                                       a/k/a "@DaMai1Man5,"
                                        a/k/a "juughard2kill,"
                                 a/k/a "chicostyle97@icloud.com,"
                                 EVENS NECLER MONESTIME,
                                a/k/a "Only talk to me Bout money,"
                                      a/k/a "Bandaman Dexta,"

  did knowingly and willfully possess with intent to distribute a controlled substance, in violation of

  Title 21, United Sates Code, Section 841(a)(l), and Title 18, United States Code, Section 2, in

  violation of Title 21, United States Code, Section 846.

         Pursuant to Title 21, United States Code, Section 841(b)(l)(C), it is further alleged that this

  violation involved a detectible amount of cocaine, a schedule II controlled substance.

         Pursuant to Title 21, United States Code, Section 841(b)(l)(C), it is further alleged that this

  violation involved a detectible amount of N-phenyl-N- [ 1- ( 2-phenylethyl ) -4-piperidinyl ]

  propenamide commonly referred to as "fentanyl," and an analogue of N-phenyl-N-[1-(2-

  phenylethyl)-4-piperidinyl] propenamide, schedule I controlled substances.

         Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this

  violation involved a detectible amount of N,N-Dimethylpentylone, a schedule I controlled

  substance.

         Pursuant to Title 21, United States Code, Section 841(b)(1)(C), it is further alleged that this

  violation involved a mixture and substance containing a detectible amount of methamphetamine,

  a schedule I controlled substance.

                                                   14
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 15 of 29




                                           COUNT22
                  Possession of Firearms and Ammunition by Prohibited Person
                                      18 u.s.c. § 922(g)(8)

         On or about May 3, 2023, in Miami-Dade County, in the Southern District of Florida, and

  elsewhere, the Defendant,

                                 EVENS NECLER MONESTIME,
                                a/k/a "Only talk to me Bout money,"
                                      a/k/a "Bandaman Dexta,"

  knowing that he was subject to a court order issued on or about June 28, 2019, in the Eleventh

  Judicial Circuit, Case No. 2019-004439-FC-04, that was issued after a hearing of which he

  received actual notice, and at which he had an opportunity to participate, restraining him from

  harassing, stalking, and threatening an intimate partner, that by its terms explicitly prohibited the

  use, attempted use, and threatened use of physical force against such intimate partner that would

  reasonably be expected to cause bodily injury, and that included a finding that the defendant was

  a credible threat to the physical safety of the intimate partner, did knowingly possess in an and

  affecting interstate commerce firearms and ammunition.

         All in violation of Title 18, United States Code, Section 922(g)(8).

                                           COUNT23
              Possession of a Firearm in Furtherance of a Drug Trafficking Crime
                                   18 U.S.C. § 924(c)(l)(A)(iii)

         On or about May 3, 2023, in Miami-Dade County, in the Southern District of Florida, and

  elsewhere, the Defendants,

                                  ANGEL JOE GONZALEZ, JR.,
                                          a/k/a "King Juug,"
                                       a/k/a "@DaMailManS,"
                                        a/k/a "juughard2kill,"
                                a/k/a chicostyle97@icloud.com, and
                                 EVENS NECLER MONESTIME,
                                a/k/a "Only talk to me Bout money,"
                                      a/k/a "Bandaman Dexta,"

                                                   15
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 16 of 29




  did knowingly possess a firearm in furtherance of a drug trafficking crime, a felony offense for

  which the defendant may be prosecuted in a court of the United States, that is a violation of Title

  21, United States Code, Section 841(a)(l ), as charged in Count 21 of this Indictment, in violation

  of Title 18, United States Code, Section 924(c)(l)(A)(i) and 2.

         Pursuant to Title 18, United States Code, Section 924(c)(1)(A)(iii), it is further alleged that

  the firearm was discharged.

                                    FORFEITURE ALLEGATIONS

         1.         The allegations in this Indictment are hereby re-alleged and by this reference fully

  incorporated herein for alleging forfeiture to the United States of America of certain property in

  which the defendants, ANGEL JOE GONZALEZ, JR., EVENS NECLER MONESTIME,

  CRISTINA AZAHARES, DAVID GONZALEZ, and ADRIANA GINEL, have an interest.

         2.         Upon conviction of a conspiracy to commit a violation of, or a violation of, Title

  18, United States Code, Section[s]l344 and/or 1349, as alleged in this Indictment, the defendants

  shall forfeit to the United States any property constituting, or derived from, proceeds obtained,

  directly or indirectly, as the result of such offense, pursuant to Title 18, United States Code, Section

  982(a)(2)(A).

         3.         Upon conviction of a violation of Title 18, United States Code, Section 1029, as

  alleged in this Indictment, the defendants shall forfeit to the United States: (a) any property

  constituting, or derived from, proceeds obtained, directly or indirectly, as the result of such offense,

  pursuant to Title 18, United States Code, Section 982(a)(2)(B); and (b) any personal property used,

  or intended to be used, to commit such offense, pursuant to Title 18, United States Code, Section

  1029(c)(1)( C).

         4.         Upon conviction of a violation of, or a conspiracy to commit a violation of, Title

                                                     16
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 17 of 29




  18, United States Code, Section 1956, as alleged in this Indictment, the defendants shall forfeit to

  the United States any property, real or personal, involved in such offense, and any property

  traceable to such property, pursuant to Title 18, United States Code, Section 982(a)(l ).

         5.      Upon conviction of a violation of Title 18, United States Code, Section[s] 922(g)

  and/or 924(c), or any other criminal law of the United States, as alleged in this Indictment, the

  defendants shall forfeit to the United States any firearm and ammunition involved in or used in the

  commission of such offense, pursuant to Title 18, United States Code, Section 924(d)(l).

         6.      Upon conviction of a violation of Title 21, United States Code, Section 841, as

  alleged in this Indictment, the defendants shall forfeit to the United States any property

  constituting, or derived from, any proceeds obtained, directly or indirectly, as a result of such

  offense, and any property used, or intended to be used, in any manner or part, to commit, or to

  facilitate the commission of, such offense, pursuant to Title 21, United States Code, Section 853.




                                                  17
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 18 of 29
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 19 of 29
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 20 of 29




                              UNITED STATES DI STRI CT COURT
                              SOUTHERN DI STRI CT OF FLORI DA

                                          PENALTY SHEET

   Defendant's Name: ANGEL JOE GONZALEZ, JR.

   Case No: _____________________________

   Count#l:

  Conspiracy to Commit Bank Fraud

  (18 u.s.c.§ 1349)
  *Max.Term of Imprisonment: 30 years.
  *Mandatory Min.Term of Imprisonment: No Mandatory Minimum
  *Max. Supervised Release: Up to 5 years.18 U.S.C.§§3583(b)(l), 3559(a)(2).
  *Max. Fine: Up to $1,000,000.00.18 U.S.C.§§ 1344, 1349

   Count#4:

  Bank Fraud

  (18 USC§ 1344)
  *Max.Term of Imprisonment: 30 years.
  *Mandatory Min.Term of Imprisonment: No Mandatory minimum
  *Max. Supervised Release: Up to 5 years.18 U.S.C.§§3583(b)(l), 3559(a)(2)
  *Max. Fine: Up to $1,000,000.00.18 U.S.C.§ 1344

   Count#8, 18-19:

  Aggravated Identity Theft

  (18 U.S.C. § 1028A)
  *Max.Term of Imprisonment: 2 years.18 U.S.C.§ 1028A(a)(l)

   Count#11-16:

  Possession of Stolen Mail Keys

  (18 u.s.c.§ 1704)
  *Max.Term of Imprisonment: 10 years.
  *Max. Supervised Release: 3 years.18 U.S.C.§§ 3559(a)(3), 3583(b)(2)
  *Max. Fine: Up to $250,000.18 U.S.C.§ 1704




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 21 of 29




  Defendant's Name: ANGEL JOE GONZALEZ JR.

   Count#l7:

  Possession of Fifteen or More Unauthorized Access Devices

  (18 U.S.C. § 1029(a)(3)
  *Max.Term of Imprisonment: 10 years.
  *Max. Supervised Release: 3 years.18 U.S.C.§§ 3559(a)(3), 3583(b)(2)
  *Max.Fine: Up to $250,000.18 U.S.C.§ 1029(c)(l)(A)(i)

  Count#20:

  Conspiracy to Commit Money Laundering

  (18 u.s.c. § 1956(h)
  *Max.Term of Imprisonment: 20 years.
  * Mandatory Min.Term of Imprisonment: No Mandatory minimum
  *Max. Supervised Release: Up to 3 years.18 U.S.C.§§3583(b)(2), 3559(a)(3)
  *Max.Fine: Up to twice the value of the property involved.

   Count#21:

  Possession with Intent to Distribute a Controlled Substance

  (21 U.S.C. § 846) (b)(l)(C)
  *Max.Term of Imprisonment: 20 years.
  * Mandatory Min.Term of Imprisonment: No Mandatory minimum
  *Max. Supervised Release: 3 years.21 U.S.C.§ 841(b)(l)( C)
  *Max.Fine: $1,000,000.21 U.S.C.§ 841(b)(l)( C)

   Count#23:

  Possession of a Firearm in Furtherance of a Drug Trafficking Crime

  (18 U.S.C. § 924(c)(l)(A)(iii)
  *Max. Term of Imprisonment: Life.
  * Mandatory Min. Term of Imprisonment: 10 years.
  *Max. Supervised Release: 5 years.18 U.S.C. §§ 3559(a)(3), 3583(b)(l)
  *Max.Fine: $250,00.18 U.S.C.§ 3571(b)(3)




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 22 of 29




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OFFLO RIDA

                                          PENALTY SHEET

  Defendant's Name: EVENS NECLER MONESTIME

  Case No: -----------------------------

  Count#l:

  Conspiracy to Commit Bank Fraud

  (18 u.s.c. § 1349)
  *Max. Term of Imprisonment: 30 years.
  *Mandatory Min. Term of Imprisonment: No Mandatory Minimum
  *Max. Supervised Release: Up to 5 years.18U.S.C. §§3583(b)(l), 3559(a)(2).
  *Max.Fine: Up to $1,000,000.00.18U.S.C. §§1344,1349

  Count#3:

  Bank.Fraud

  (18 USC§ 1344)
  *Max. Term of Imprisonment: 30 years.
  * Mandatory Min. Term of Imprisonment: No Mandatory minimum
  *Max. Supervised Release: Up to 5 years.18U.S.C. §§3583(b)(l), 3559(a)(2)
  *Max.Fine: Up to $1,000,000.00.18U.S.C. §1344

  Count#11-16:

  Possession of Stolen Mail Keys

  (18 U.S.C. § 1704)
  *Max. Term of Imprisonment: 10 years.
  *Max. Supervised Release: 3 years.18U.S.C. §§ 3559(a)(3), 3583(b)(2)
  *Max.Fine: Up to $ 250,000.18U.S.C. §1704

  Count#l7:

  Possession ofFifteen or More Unauthorized Access Devices

  (18 U.S.C. § 1029(a)(3)
  *Max. Term of Imprisonment: 10 years.
  *Max. Supervised Release: 3 years.18U.S.C. §§ 3559(a)(3), 3583(b)(2)
  *Max.Fine: Up to $ 250,000.18U.S.C. §1029(c)(l)(A)(i)


    *Refers only to possible term of incarceration, supervised release and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 23 of 29




  Defendant's Name: EVENS NECLER MONESTIME

  Count #18-19:

  Aggravated Identity Theft

  (18 U.S.C. § 1028A)
  *Max.Term of Imprisonment: 2 years. 18 U.S.C. § 1028A(a)(l)

  Count #20:

  Conspiracy to Commit Money Laundering

  (18 U.S.C. § 1956(h)
  *Max.Term of Imprisonment: 20 years.
  *Mandatory Min.Term of Imprisonment: No Mandatory minimum
  *Max. Supervised Release: Up to 3 years. 18 U.S.C. §§3583(b)(2), 3559(a)(3)
  *Max.Fine: Up to twice the value of the property involved.

  Count #21:

  Possession with Intent to Distribute a Controlled Substance

  (21 U.S.C. § 846) (b)(l)(C)
  * Max.Term of Imprisonment: 20 years.
  *Mandatory Min.Term of Imprisonment: No Mandatory minimum
  *Max. Supervised Release: 3 years. 21 U.S.C. § 841(b)(l)(C)
  *Max.Fine: $1,000,000. 21 U.S.C. § 841(b)(l)(C)

  Count #22:

  Possession of Firearm and Ammunition by Prohibited Person

  (18 U.S.C. § 922(g)(8))
  *Max.Term of Imprisonment: 15 years.
  *Max. Supervised Release: 3 years. 18 U.S.C. §§ 3559(a)(3), 3583(b)(2)
  *Max.Fine: Up to $250,000. 18 U.S.C. § 924(a)(8)

  Count #23:

  Possession of a Firearm in Furtherance of a Drug Trafficking Crime

  (18 U.S.C. § 924(c)(l)(A)(iii)
  *Max.Term of Imprisonment: Life.
  *Mandatory Min.Term of Imprisonment: 10 years.
  *Max. Supervised Release: 5 years. 18 U.S.C. §§ 3559(a)(3), 3583(b)(l)


    *Refers only to possible term of incarceration, supervised release and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 24 of 29




  *Max.Fine: $250,00. 18 U.S.C. § 3571(b)(3)




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 25 of 29




                              UNITED STATE S DI STRI CT COURT
                              SOUTHERN DI STRI CT OF FLORIDA

                                          PENALTY SHEET

  Defendant's Name: CRISTINA AZAHARES

   Case No: -----------------------------

   Count #1:

  Conspiracy to Commit Bank Fraud

  (18 U.S.C. § 1349)
  *Max.Term of Imprisonment: 30 years.
  *Mandatory Min.Term of Imprisonment: No Mandatory Minimum
  *Max. Supervised Release: Up to 5 years.18 U.S.C.§§3583(b)(l), 3559(a)(2).
  *Max.Fine: Up to $1,000,000.00.18 U.S.C.§§ 1344, 1349

   Count #2:

  Bank.Fraud

  (18 USC§ 1344)
  *Max.Term of Imprisonment: 30 years.
  * Mandatory Min.Term of Imprisonment: No Mandatory minimum
  *Max. Supervised Release: Up to 5 years.18 U.S.C.§§3583(b)(l), 3559(a)(2)
  *Max.Fine: Up to $1,000,000.00. 18 U.S.C.§ 1344

   Count #7, 18-19:

  Aggravated Identity Theft

  (18 U.S.C. § 1028A)
  *Max.Term of Imprisonment: 2 years.18 U.S.C. § 1028A(a)(l)

   Count #11-16:

  Possession of Stolen Mail Keys

    u.s.c. § 1704)
  (18
  *Max.Term of Imprisonment: 10 years.
  *Max. Supervised Release: 3 years.18 U.S.C.§§ 3559(a)(3), 3583(b)(2)
  *Max.Fine: Up to $250,000.18 U.S.C.§ 1704




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 26 of 29




  Defendant's Name: CRISTINA AZAHARES

  Count#l7:

  Possession of Fifteen or More Unauthorized Access Devices

  (18 U.S.C. § 1029(a)(3)
  *Max.Term of Imprisonment: 10 years.
  *Max. Supervised Release: 3 years.18 U.S.C. §§ 3559(a)(3), 3583(b)(2)
  *Max.Fine: Up to $250,000.18 U.S.C. §1029(c)(l)(A)(i)

  Count#20:

  Conspiracy to Commit Money Laundering

  (18 U.S.C. § 1956(h)
  *Max. Term of Imprisonment: 20 years.
  *Mandatory Min.Term of Imprisonment: No Mandatory minimum
  *Max. Supervised Release: Up to 3 years.18 U.S.C. §§3583(b)(2), 3559(a)(3)
  *Max.Fine: Up to twice the value of the property involved.




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 27 of 29




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OFFLO RIDA

                                         PENALTY SHEET

  Defendant's Name: DAVID GONZALEZ

  Case No: -----------------------------

  Count#l:

  Conspiracy to Commit Bank Fraud

  (18 u.s.c. § 1349)
  *Max. Term of Imprisonment: 30 years.
  *Mandatory Min. Term of Imprisonment: No Mandatory Minimum
  *Max.Supervised Release: Up to 5 years. 18U.S.C. §§3583(b)(l), 3559(a)(2).
  *Max.Fine: Up to $1,000,000.00. 18U.S.C. §§ 1344, 1349

  Count#6:

  Bank Fraud

  (I 8 use § 1344)
  *Max. Term of Imprisonment: 30 years.
  *Mandatory Min. Term of Imprisonment: No Mandatory minimum
  *Max. Supervised Release: Up to 5 years. 18U.S.C. §§3583(b)(l), 3559(a)(2)
  *Max.Fine: Up to $1,000,000.00. 18U.S.C. § 1344

  Count#10, 18-19:

  Aggravated Identity Theft

  (18 U.S.C. § 1028A)
  *Max. Term of Imprisonment: 2 years. 18U.S.C. § 1028A(a)(l)

  Count#11-16:

  Possession of Stolen Mail Keys

  (18 U.S.C. § 1704)
  *Max. Term of Imprisonment: 10 years.
  *Max. Supervised Release: 3 years. 18U.S.C. §§ 3559(a)(3), 3583(b)(2)
  *Max.Fine: Up to $250,000. 18U.S.C. § 1704




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 28 of 29




  Defendant's Name: DAVID GONZALEZ

  Count #20:

  Conspiracy to Commit Money Laundering

  (18 u.s.c. § 1956(h)
  *Max.Term of Imprisonment: 20 years.
  * Mandatory Min.Term of Imprisonment: No Mandatory minimum
  *Max.Supervised Release: Up to 3 years. 18 U.S.C. §§3583(b)(2), 3559(a)(3)
  * Max. Fine: Up to twice the value of the property involved.




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:24-cr-20353-MD Document 3 Entered on FLSD Docket 08/14/2024 Page 29 of 29




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                             PENALTY SHEET

                    ADRIANA -==
  Defendant's Name: =-===-=--'-"'--"- GINEL
                                        :::....:.==----   ----------------
  Case No: ---- ------------------------

  Count #1:

  Conspiracy to Commit Bank Fraud

  (18 u.s.c.§ 1349)
  *Max. Term of Imprisonment: 30 years.
  *Mandatory Min. Term of Imprisonment: No Mandatory Minimum
  *Max. Supervised Release: Up to 5 years. 18 U.S.C. §§3583(b)(1), 3559(a)(2).
  *Max. Fine: Up to $1,000,000.00. 18 U.S.C. §§ 1344, 1349

  Count #5:

  Bank.Fraud

  (18 USC§ 1344)
  * Max.Term of Imprisonment: 30 years.
  * Mandatory Min. Term of Imprisonment: No Mandatory minimum
  *Max.Supervised Release: Up to 5 years. 18 U.S.C. §§3583(b)(l), 3559(a)(2)
  *Max. Fine: Up to $1,000,000.00. 18 U.S.C. § 1344

  Count #9, 18-19:

  Aggravated Identity Theft

  (18 U.S.C. § 1028A)
  *Max.Term of Imprisonment: 2 years.18 U.S.C. § 1028A(a)(l)


  Count #20:

  Conspiracy to Commit Money Laundering

  (18 u.s.c. § 1956(h)
  *Max. Term of Imprisonment: 20 years.
  *Mandatory Min. Term of Imprisonment: No Mandatory minimum
  *Max. Supervised Release: Up to 3 years. 18 U.S.C.§§3583(b)(2), 3559(a)(3)
  *Max. Fine: Up to twice the value of the property involved.


    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
